Case: 1:24-cv-04046 Document #: 5 Filed: 06/03/24 Page 1 of 2 PageID #:12

AO 440 (Rev. 05/00) Summons in a Civil Action

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SUMMONS IN A CIVIL CASE

ANDREW STOUT
CASE NUMBER: 1:24-cv-04046
Vv. ASSIGNED JUDGE:
Hon. John F. Kness
BOLT ELECTRICAL LLC and GEOVANNI DESIGNATED

TO: (Name and address of Defendant}

BOLT ELECTRICAL LLC

C/O REGISTERED AGENT
GEOV ANNI RODRIGUEZ
2867 N AUGUSTA DR
WADSWORTH, IL 60083-8913

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

Nathan C. Volheim

Sulaiman Law Group, Ltd.

2500 South Highland Ave., Suite 200
Lombard, [hinois 60148

an answer to the complaint which is herewith served upon you, 21 days after service of this

summons upon you, exclusive of the day of service. Ifyou fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

Vorname Ulla

May 21, 2024

(By) DEPUTY CLERK DATE

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CERTIFICATE OF SERVICE
UNITED STATES DISTRICT COURT Case #: 1:24-cv-0446
NORTHERN DISTRICT OF ILLINOIS
Andrew Stout
Plaintiff
vs.
Bolt Electrical LLC, et al
Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was
a citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be
witness therein, and that | served copies of the:

Summons & Comptaint

PARTY SERVED: BOLT ELECTRICAL LLC
PERSON SERVED: GIOVANNI RODRIGUEZ, REGISTERED AGENT

METHOD OF SERVICE: Corporate - By leaving copies with the person identified above, apparently in charge at the
office or usual place of business. | informed him/her of the general nature of the papers.

DATE & TIME OF DELIVERY: 5/29/2024 at 9:40 AM
ADDRESS, CITY AND STATE: 2867 N. AUGUSTA DR, WADSWORTH, IL 60083

Race: Hispanic Sex: Male Age: 39
Height: 5°40" Weight: 185 Hair: Brown Glasses: No

| declare under penalties of perjury that the information contained
herein is true and correct. Executed on 5/29/2024.

(C90

Richard Gerber
Registration Na: 117-001118

& PO Box 583
Geneva, IL 60134
(630) 221-9007

CLIENT: R.O.S. Consulting, inc. Job #: 575336
FILE #:
